       Case 2:09-cr-00138-JAM Document 57 Filed 06/24/09 Page 1 of 2


 1   JOSEPH J. WISEMAN, ESQ., CSBN 107403
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 2       1477 Drew Avenue, Suite 106
         Davis, California 95618
 3       Telephone:       530.759.0700
         Facsimile:       530.759.0800
 4   Attorney for Defendant
     MUMRAIZ KHAN
 5

 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                         SACRAMENTO DIVISION
 9

10
     UNITED STATES OF AMERICA,                        ) Case No. CR S 09-0138 MCE
11
                                                      )
                                 Plaintiff,           )
12
                                                      )
           vs.                                        )
13
                                                      ) REQUEST FOR WAIVER OF
                                                      ) PRESENCE
14
                                                      )
     MUMRAIZ KHAN; et al.,                            )
15
                                                      )
                                 Defendants.          )
16
                                                      )
17

18                  Defendant MUMRAIZ KHAN, hereby waives the right to be present in person in
19   open court upon the hearing of any motion or other proceeding in this cause, including, but not
20   limited to when the case is ordered set for trial, when a continuance is ordered, and when any
21   other action is taken by the court before or after hearing, except upon arraignment, plea,
22   empanelment of jury and imposition of sentence. Defendant hereby requests the court to proceed
23   during every absence of his which the court may permit pursuant to this waiver; agrees that his
24   interests will be deemed represented at all times by the presence of his attorney, the same as if
25   defendant were personally present; and further agrees to be present in court ready for hearing any
26   day and hour the court may fix in his absence.
27          Defendant further acknowledges that he has been informed of his rights under Title 18
28   U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays

                                                        1
     _________________________________________________________________________________________________
     Request for Waiver of Presence                                            Case No. CR S CRS 09-0138 MCE
       Case 2:09-cr-00138-JAM Document 57 Filed 06/24/09 Page 2 of 2


 1   under the Act without defendant being present.
 2

 3
     Dated:     April 23, 2009                      _See scanned doc for signature_
 4                                                  Defendant, MUMRAIZ KHAN

 5

 6   Approved: June 11, 2009                        By: __/s/ Joseph J. Wiseman__
 7
                                                           JOSEPH J. WISEMAN
                                                           Attorney for Defendant
 8                                                         MUMRAIZ KHAN
 9

10
     Dated:     June 11, 2009                       Respectfully submitted,
11
                                                    JOSEPH J. WISEMAN, P.C.
12

13                                                  By: __/s/ Joseph J. Wiseman__
14                                                         JOSEPH J. WISEMAN
                                                           Attorney for Defendant
15                                                         MUMRAIZ KHAN
16

17   I approve the Request for Waiver of Presence.

18
     DATED: June 23, 2009
19

20                                              __________________________________
                                                MORRISON C. ENGLAND, JR
21                                              UNITED STATES DISTRICT JUDGE
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     _________________________________________________________________________________________________
     Request for Waiver of Presence                                            Case No. CR S CRS 09-0138 MCE
